    Case 3:16-cr-01531-BTM      Document 79       Filed 03/02/17   PageID.359          Page 1 of 1

                                                                                    FILED
                             UNITED STATES DISTRICT COU
                           SOUTHERN DISTRICT OF CALIFO                                MAR 02 2017

                                                                               Cle.HK US lllS"l RICT COURT
UNITED STATES OF AMERICA,                                                   SOUTH!oHN DIS.I HIC I OF CALIFORNIA
                                                      Case No. 16CR1                                   DEPUTY



                                     Plaintiff,
                     vs.
                                                       JUDGMENT OF DISMISSAL
MARIA ANITA PAEZ-VILLA,

                                   Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

     an indictment has been filed in another case against the defendant and the Court has
D    granted the motion of the Government for dismissal of this case, without prejudice; or

D    the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal, without prejudice; or

D    the Court has granted the motion of the defendant for a judgment of acquittal; or

D    a jury has been waived, and the Court has found the defendant not guilty; or

D    the jury has returned its verdict, finding the defendant not guilty;

     of the offense(s) as charged in the Indictment and superseding Indictment:
     21 USC 952, 960 - Importation ofMethamphetamine (1)
     21 USC 952, 960, 963 - Conspiracy to Import Methamphetamine (1 s)
     21USC952, 960 -Importation ofMethamphetamine (2s)


Dated:   3J,. ~B /2017
